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                     EXHIBIT 7
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1. Pursuant to 28 U.S.C. section 1746, I, Matt Barreto, declare as follows:



2. My name is Matt Barreto, and I am currently Professor of Political Science and Chicana/o
   Studies at the University of California, Los Angeles. I was appointed Full Professor with
   tenure at UCLA in 2015. Prior to that I was a tenured professor of Political Science at the
   University of Washington from 2005 to 2014. At UCLA I am the faculty director of the Voting
   Rights Project in the Luskin School of Public Affairs and I teach a year-long course on the
   Voting Rights Act (VRA), focusing specifically on social science statistical analysis,
   demographics and voting patterns that are relevant in VRA expert reports. I have written expert
   reports and been qualified as an expert witness more than three dozen times in Federal and
   State voting rights and civil rights cases, including many times in the state of Texas. I have
   published peer-reviewed, social science articles specifically about minority voting patterns,
   racially polarized voting, and have co-authored a software package specifically for use in
   understanding racial voting patterns in VRA cases. I have been retained as an expert consultant
   by counties across the state of Texas to advise them on racial voting patterns as they relate to
   VRA compliance during redistricting. As an expert witness in VRA lawsuits, my testimony has
   been relied on by courts to find in favor of both plaintiffs and defendants.

3. In this matter, I was asked to assess how Plan S2168 altered SD10, and the demographic
   patterns and voting patterns in Tarrant County, Texas, in particular looking at State Senate
   districts 9, 10 and 22 in the enacted plan.

4. I obtained data from the Texas Legislative Council (TLC) and the Capitol Data Project for
   statewide election results by county and voter demographics by county. All results are
   available at the precinct (VTD) level and I have merged together the election returns with voter
   racial/ethnic demographics to create a standard dataset for analyzing voting patterns. Race and
   population data were obtained from the U.S. Census 2010 and 2020 PL-94 Redistricting files.

I. Statewide Population Growth and Enacted Map Characteristics

5. Narrowing in on Tarrant County, I begin with a broader view of the entire state of Texas and
   how its population has changed and shifted over the past decade. Overall, Texas gained almost
   4 million in population, however these gains were uneven by geography and race/ethnicity.
   Specifically, the Anglo/White population experienced a 5 point drop in population share from
   2010 to 2020 going from 45% of the state population to now just 40%. In contrast, the Latino
   population grew by almost 2 million, a 21% increase and the Black population grew by
   557,887, a 19% increase. What’s more, the Asian American population grew by 65% adding
   over 600,000 new residents in the last 10 years. Thus, the entire population growth of almost 4
   million occurred because of increases in the non-white population. A districting scheme must



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   take into account population shifts and draw boundaries around communities of interest, careful
   not to overly pack or crack minority communities.

Table 1: Texas Population Change 2010 to 2020 by race/ethnicity


                                 2020              2010             Change              Pct



Texas Statewide Total         29,145,505        25,145,558        3,999,947            16%



Hispanic                      11,441,717        9,460,920         1,980,797            21%



Anglo                         11,397,343        11,584,597         187,254              2%



Black                         2,886,825         3,444,712          557,887             19%



Asian                          948,426          1,561,518          613,092             65%



All other/multi-racial         452,044          1,112,961          660,917            146%




6. From a population growth perspective, the 3,812,693 increase in non-white residents should
   account for slightly more than 4 additional full state Senate districts, given a district size of
   940,178 people. What’s more, it is possible to draw 6 additional full state Senate districts that
   are greater than 67% non-white from this population growth alone.

7. However, the Texas Senate map instead diluted the minority population, cracking it into
   multiple districts, combining it with Anglo voters who bloc vote against minority candidates of
   choice. As compared to the existing benchmark map which has 16 majority-minority voting
   age population (VAP) districts, the new enacted Plan S2168 has 15 majority-minority VAP
   districts.




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8. This statewide inequality is most visible in and around Tarrant County. Overall Tarrant County
   experienced a 17% increase in its population from 2010 to 2020, growing by over 300,000 total
   population. This population growth was driven by large increases in the Black, Hispanic and
   Asian communities, while the Anglo/White population actually declined by 3% over the last
   ten years. With strong growth from minority communities, there is no question that it is
   possible to maintain the existing performing district in which minority preferred candidates
   have the opportunity to be elected--Senate District 10.



Table 2: Tarrant County Population Change 2010 to 2020 by race/ethnicity


                               2020              2010            Change             Pct



Tarrant County Total         2,110,640        1,809,034         301,606            17%



Hispanic                      620,907          482,977          137,930            29%



Anglo                         904,884          937,135          (32,251)            -3%



Black                         358,645          262,522           96,123            37%



Asian                         127,783           83,378           44,405            53%



All other/multi-racial        98,421            43,022           55,399            129%




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    II. Benchmark SD10 Is a Performing Crossover District

    9. Benchmark SD10 is a performing crossover district. Its total population is 39.5% Anglo, and
       61.5% non-white minority. This includes 32.2% Hispanic, 21.5% Black, and 5.7% Asian. Its
       voting age population (“VAP”) is 43.9% Anglo, 28.8% Hispanic, 20.3% Black, and 5.5%
       Asian. According to the 2015-2019 ACS compiled by the Texas Legislative Council 1, its
       citizen voting age population (“CVAP”) is 53.9% Anglo, 20.4% Hispanic, 20.9% Black, and
       3.6% Asian. When SD10 was last enacted in 2013, is Anglo CVAP was 57.7% according to the
       2011 to 2015 ACS (midpoint year 2013) 2. Given the steady decline in Anglo share of the
       district’s CVAP, and the lag inherent in the 5-year ACS estimates, benchmark SD10 is almost
       certainly a majority minority district by CVAP today.

    10. Benchmark SD10 effectively functions as a crossover district for minority voters. In 2018,
        Democrat Beverly Powell carried SD10 by a margin of about 10,000 votes or 3.5 points.
        Powell was the clear minority candidate of choice winning more than 80% of Hispanic votes
        and more than 90% of Black votes. While Anglo voters generally voted Republican, there was
        enough crossover voting in 2018 from Anglos that when combined with strong voting cohesion
        among minorities that SD10 was a minority performing district. In recent elections, SD10
        benchmark has performed well, with minority candidates of choice winning 19 of 23 elections
        across 2018-2020, including winning 10 of 10 in 2020.




1
  https://data.capitol.texas.gov/dataset/32f7ee1f-a491-4e2b-a996-4e0064141682/resource/1a00f9d4-a34f-46f0-907e-
761be8b28051/download/plans2100r116_acs1519.pdf
2
  https://data.capitol.texas.gov/dataset/11af74fa-6c1a-45cc-b364-2e015e9ae764/resource/cc7c9ee2-5438-4671-83b8-
15fd3c29f435/download/plans172_red116_acs_special_tabulation_2011-2015.pdf



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Table 3: SD10 Benchmark Results for Minority Candidates of Choice in Recent Elections




                                                                                   p5
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    III. Plan S2168 Dismantles SD10 as Effective Crossover District

    11. Instead of maintaining SD10 as an effective crossover district for minority voters in Tarrant
        County, the Plan S2168 clearly cracks the minority population in Tarrant into Senate Districts
        9, 10, and 22, resulting in the inability of minority-preferred candidates to prevail in any of
        those districts.

    12. By contrast to benchmark SD10, the new district is substantially more Anglo and less minority.
        Its total population is 49% Anglo, 28.2% Hispanic, 17.7% Black, and 3.4% Asian. Its voting
        age population (“VAP”) is 53.3% Anglo, 24.7% Hispanic, 16.6% Black, and 3.3% Asian.
        According to the 2015-2019 ACS compiled by the Texas Legislative Council 3, its citizen
        voting age population (“CVAP”) is 62.2% Anglo, 17.5% Hispanic, 17.0% Black, and 2.0%
        Asian.

    13. As seen in Figure 1 below, the southern part of Tarrant County, which has a large non-white
        population – indicated by red shading on the map, is cracked from the rest of the Tarrant non-
        white population and combined with seven counties which have very large Anglo populations.
        This has the effect of diluting the Tarrant minority population by combining it with Anglo
        populations that are not a cohesive community of interest in Senate District 10.




3
 https://data.capitol.texas.gov/dataset/70836384-f10c-423d-a36e-748d7e000872/resource/dc8e7520-345f-4bfe-8aa7-
2770ec78152b/download/plans2168r116_acs1519.pdf



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Figure 1: Percent Non-Hispanic Anglo/White in Census Block Group, Census 2020
SD10 boundary overlaid4




       14. Next, a large minority population on the eastern side of Tarrant County is cracked and
           combined with 11 counties that are combined for an Anglo population well over 75 percent.
           As shown in Figure 2 below, a geographically small, but highly populated and heavily minority
           portion of east Tarrant County is fractured from nearby minority communities of interest to be
           grouped with dissimilar Anglo majorities counties to its south. The result is once again the
           dilution of the non-white voting population in Tarrant County into Senate District 22




4
    Maps created in Social Explorer, district boundary overlaid for purposes of visual representation



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Figure 2: Percent Non-Hispanic Anglo/White in Census Block Group, Census 2020
Approximate SD22 boundary overlaid




   15. The pattern of cracking the minority population is most apparent when we zoom in to just
       Tarrant County to observe the different Senate district boundaries within the county. SD10
       used to be wholly contained within Tarrant County, forming a cohesive community of interest
       centered in the City of Fort Worth. In fact, 157 precinct/VTDs that had been part of SD10 were
       shifted away from SD10 into SD9 and SD22.

   16. Although benchmark SD10 was near ideal population--just 5,318 persons (0.57%)
       overpopulated--Plan S2168 moved 387,161 people out of the district. The population removed
       from the district is 56.4% minority: 168,721 (43.6%) are Anglo, 122,446 (31.6%) are Hispanic,
       63,362 (16.4%) are Black, and 27,522 (7.1%) are Asian.

   17. Plan S2168 then moved into SD10 377,534 new residents. The population added to the district
       is just 32.8% minority: 253,532 (67.2%) are Anglo, 81,604 (21.6%) are Hispanic, 25,138
       (6.7%) are Black, and 5,734 (6.7%) are Asian.




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   18. In total, Plan S2168 moves 764,695 people in redrawing SD10. The changes increase SD10’s
       Anglo share of the population by roughly 10%, and convert it from a majority-minority VAP
       district to a majority-Anglo VAP district.

   19. As the map in figure 3 makes abundantly clear, the high-density minority portions of Tarrant
       County have been cracked into SD9, SD10, and SD22, which heavily dilutes the minority
       voting strength in SD9, SD10 and SD22.

Figure 3: Percent Non-Hispanic Anglo/White in Census Block Group, Census 2020
Approximate Senate district boundaries overlaid




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IV. Racially Polarized Voting Analysis in counties which comprise SD9, SD10 and SD22

20. I next examine whether voters of different racial/ethnic backgrounds tend to prefer different or
    similar candidates in a wide range of electoral settings. The phenomenon called racially
    polarized voting (RPV) is defined as voters of different racial or ethnic groups exhibiting
    different candidate preferences in an election. It means simply that voters of different groups
    are voting in polar opposite directions, rather than in a coalition. Voters may vote for their
    candidates of choice for a variety of reasons, and RPV analysis is agnostic as to why voters
    make decisions, instead RPV simply reports how voters are voting. It measures the outcomes
    of voting patterns and determines whether patterns track with the race/ethnicity demographics
    of neighborhoods, cities, and voting precincts.

21. Voting patterns in Plan S2168’s configuration of SD9, SD10 and SD22 counties and precincts
    are definitely characterized by racially polarized voting. SD10 precincts combined demonstrate
    one of the strongest patterns of RPV that I have ever measured across more than 50
    jurisdictions I have analyzed in my career.

22. In recent elections which I analyzed, Black and Hispanic voters demonstrated strong cohesion,
    both voting together for their candidates of choice. Anglo/White voters have divergent voting
    patterns, voting as a bloc against minority preferred candidates.

23. This relationship is easily demonstrated in the graphs below which plots the vote a candidate
    received in each precinct (VTD) on the vertical Y-axis against the percent Anglo within each
    precinct on the horizontal X-axis. Figures 4-6 below demonstrate that across SD10 Anglos and
    non-white minorities vote in polar opposite directions. Because Anglos are more numerous in
    the district, they block Black and Hispanic candidates of choice from ever being able to win.




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Figure 4: Vote Choice in the 2020 Presidential Election Sorted by Percent Anglo SD10




Figure 5: Vote Choice in the 2018 Gubernatorial Election Sorted by Percent Anglo SD10




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Figure 6: Vote Choice in the 2016 Presidential Election Sorted by Percent Anglo SD10




  24. This same pattern emerges when we consider voting patterns in the counties and precincts that
      comprise Senate District 22. The portion of Tarrant that is heavily minority votes cohesively in
      favor of Democratic candidates, while the outlying areas outside of Tarrant which are heavily
      Anglo vote cohesively for Republican candidates. Because the Anglo voting population is
      more numerous than Blacks and Hispanics combined they are able to control election outcomes
      and systematically block minority preferred candidates from winning.




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Figure 7: Vote Choice in the 2020 Presidential Election Sorted by Percent Anglo SD22




Figure 8: Vote Choice in the 2018 Gubernatorial Election Sorted by Percent Anglo SD22




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Figure 9: Vote Choice in the 2016 Presidential Election Sorted by Percent Anglo SD22




   25. Turning to Senate District 9 which is contained within Tarrant County, we find similar patterns
       of racially polarized voting. Areas of Tarrant SD9 that are heavily minority vote cohesively in
       favor of Democratic candidates. Democratic candidates continue to fare well in diverse
       precinct which are still majority-minority, however in voting precincts that are majority-Anglo
       the Republican candidate is preferred. This trend is most obvious in SD9 precincts which are
       heavily Anglo, demonstrating 75% to 85% Republican vote consistently, and serving to block
       minority candidates of choice.




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Figure 10: Vote Choice in the 2020 Presidential Election Sorted by Percent Anglo SD9




Figure 11: Vote Choice in the 2018 Gubernatorial Election Sorted by Percent Anglo SD9




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Figure 12: Vote Choice in the 2016 Presidential Election Sorted by Percent Anglo SD9




   26. Across all three of Plan S2168’s SD9, SD10 and SD22, as a voting precinct gets more and
       more heavily Anglo, there is a clear increase in the vote for the Republican candidate, across
       every single contest analyzed. In contrast, high density Black or Hispanic precincts vote
       heavily for the Democratic candidate. In addition to the ecological regression charts, I ran
       ecological inference analysis using the eiCompare package in R, to provide vote estimates for
       each racial/ethnic group in SD9, SD10 and SD22. Those results are reported below in Tables 4-
       6. Overall, the relationship holds across numerous elections analyzed, year-in, year-out, and is
       very strong evidence of racially polarized voting.




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      Table 4: Ecological inference analysis of vote choice by race – SD10

                            Anglo          Latino         Black

              Biden          12.4           78.3           92.2

              Trump          86.2           19.7           7.8

              Hegar           9.9           75.9           90.9

              Cornyn         88.2           19.2           6.9

              Valdez          7.6           75.7           91.3

              Abbott         91.1           21.0            8.8

            O’Rourke         12.8           82.4           95.1

               Cruz          86.3           16.5           4.7

              Clinton         8.0           75.3           92.3

              Trump          87.8           17.9           7.3

              Davis          10.3           73.4           92.6

              Abbott         88.2           22.7            7.3




                                                                             p 17
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      Table 5: Ecological inference analysis of vote choice by race – SD22

                            Anglo          Latino         Black

              Biden           9.5           76.4           93.0

              Trump          89.1           21.4           6.9

              Hegar           7.6           76.5           97.7

              Cornyn         90.7           19.4           2.0

              Valdez          6.5           74.2           92.3

              Abbott         92.7           24.2            7.8

            O’Rourke          9.8           79.6           96.9

               Cruz          89.5           19.9           3.0

              Clinton         6.5           78.0           99.6

              Trump          90.6           17.2           0.4

              Davis           8.5           73.9           87.9

              Abbott         90.4           22.2            9.9




                                                                             p 18
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       Table 6: Ecological inference analysis of vote choice by race – SD9

                             Anglo         Latino          Black

               Biden          20.3          74.2           84.4

              Trump           78.7          23.7           15.2

               Hegar          15.8          22.8           83.8

              Cornyn          82.6          74.1           16.1

              Valdez          12.1          80.0           81.5

              Abbott          86.5          19.7           18.4

             O’Rourke         18.4          80.7           83.2

               Cruz           80.7          18.6           16.2

              Clinton         14.4          79.5           77.5

              Trump           85.7          20.5           22.4

               Davis          14.7          77.7           86.4

              Abbott          85.2          22.4           13.5




                                                                             p 19
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Table 7: SD9, SD10, SD22 in S2168 Plan do not perform for Minority Candidates of Choice




   Minority Voters within Tarrant County are Cohesive

27. When running EI analysis on Tarrant County as a whole, not just within a specific district, we
    find very strong evidence that Black and Hispanic voters are supporting the same candidates,
    and at very high rates. Overall, Black and Hispanic voters in Tarrant vote for Democratic
    candidates across multiple elections, overtime, at rates of 80% to 90%, which suggests they are
    very cohesive and can be considered a community of interest. In contrast, when looking
    countywide, Anglo voters consistently bloc vote against minority candidates of choice, clear



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      evidence of racially polarized voting. As evidenced in the ecological scatter plots below, there
      are some regions within Tarrant where Anglo voters are registering 30% to 40% crossover
      voting, however there are many other regions where Anglo voters bloc vote heavily against
      minority interests.

Table 8: Ecological inference analysis of vote choice among Black and Hispanic voters – Tarrant
                                            countywide

                                      Latino          Black            Anglo

                       Biden           80.8            90.4             19.7

                       Trump           18.8             9.5             80.2

                       Hegar           79.3            89.5             15.6

                      Cornyn           18.1             9.8             82.6

                       Valdez          83.5            89.1             11.6

                       Abbott          16.3            10.9             88.4

                     O’Rourke          85.0            90.9             18.1

                        Cruz           15.0             9.1             81.9

                      Clinton          83.8            89.5             13.7

                       Trump           16.2            10.6             86.3

                       Davis           79.9            88.7             13.9

                       Abbott          20.1            11.4             86.1




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Figure 13: Vote Choice in the 2020 Presidential Election Sorted by Percent Anglo - All Precincts
in Tarrant County




Figure 14: Vote Choice in the 2018 Gubernatorial Election Sorted by Percent Anglo - All
Precincts in Tarrant County




                                                                                           p 22
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Figure 15: Vote Choice in the 2016 Presidential Election Sorted by Percent Anglo - All Precincts
                                      in Tarrant County




  Tarrant County Versus non-Tarrant Counties in SD10 and SD22

  28. What is particularly noteworthy is how dramatically different voting patterns are inside Tarrant
      County versus in other counties which have been joined to form SD10 and SD22.

  29. For example, if we isolate voting patterns to just the precincts within Tarrant County that have
      apportioned into SD10, we see high rates of minority cohesion, and also more Anglo cross-over
      voting than in the outlying counties. While the Black and Hispanic SD10 precincts inside
      Tarrant County are voting very cohesively, the majority-Anglo precincts are giving about 25%
      to 40% vote for Biden in the 2020 Presidential.




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Figure 16: Vote Choice in the 2020 Presidential Election Sorted by Percent Anglo SD10
Subset to only SD10 precincts within Tarrant County




   30. However, a very different picture of voting patterns emerges when we focus in on those SD10
       precincts outside of Tarrant County. First, the non-Tarrant counties are almost entire super-
       majority Anglo. Of the 121 VTDs, 118 are majority-Anglo VAP and the largest concentration
       are in the 80% to 100% Anglo range. Looking at voting patterns, the Anglo vote in these non-
       Tarrant counties is extremely cohesive, giving Biden less than 10% of the vote in 2020. Thus,
       it is clear that grouping the Tarrant and non-Tarrant counties and VTDs does not create a
       common community of interest, in fact it is just the opposite. The non-Tarrant counties have
       very different racial composition and extremely different voting patterns.




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Figure 17: Vote Choice in the 2020 Presidential Election Sorted by Percent Anglo SD10
Subset to only SD10 precincts outside Tarrant County




Precincts Moved Out of SD10

   31. The new Senate districting plan moved more than 150 precincts out of the current SD10 and
       into neighboring districts. The precincts which they moved out constituted minority-performing
       precincts which contributed to the election of minority candidates of choice. In particular, 157
       precincts that voted cohesively with the Tarrant County SD10 precincts were shifted out of
       SD10 and into SD9 (131 precincts) and SD22 (26 precincts).

   32. Overall, the 157 precincts which had been in SD10 and were moved out were 56% minority
       and 44% Anglo and voted 52% for Biden compared to 46% for Trump. Thus these precincts
       which were moved had been performing alongside the heavily Black and Hispanic portions of
       SD10 to contribute to the election of minority-preferred candidates.

   33. In contrast, the 137 precincts which were moved into SD10 were only 23% minority and 77%
       Anglo and voted 19% for Biden and 80% for Trump. This new set of precincts in 7 counties
       beyond Tarrant are quite dissimilar and will serve to block minority candidates of choice from
       winning election in Senate District 10.




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         Table 9: Summary Description of Precincts Moved Out and Moved In to SD10


                                     # VTDs     Biden % Trump %          Anglo     Minority


              Moved out SD 10:         157       52.1%       46.3%       43.6%     56.4%


              Moved in SD 10:          137       21.8%       76.9%       67.2%     32.8%


   34. I will provide additional data and analysis of population statistics and election results on areas
       of the Senate maps in and around the Dallas/Fort Worth area as requested by the Court and
       counsel.

   35. I declare under penalty of perjury that the foregoing is true to the best of my knowledge.




November 24, 2021                             ________________________________

                                              Matt Barreto

                                              Agoura Hills, California




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Appendix – Racially Polarized Voting Graphs




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